     Case 1:02-cr-00045-MP-GRJ        Document 200      Filed 02/07/12   Page 1 of 2


                                                                                  Page 1 of 2


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                  CASE NO. 1:02-cr-00045-MP-GRJ-3

CRAIG CHARLES BOLLES,

       Defendant.

_____________________________/

                                        ORDER

       This matter is before the Court on Doc. 198, Motion to Continue Evidentiary

Hearing by Craig Charles Bolles. The defendant is currently scheduled for an

evidentiary hearing on February 23, 2012. However, the Assistant Federal Public

Defender appointed to represent defendant is scheduled for a three week trial beginning

February 13, 2012. As such, the defendant moves the Court to continue the evidentiary

hearing for approximately sixty (60) days. The government offers no objection to the

motion to continue.

       The Court agrees that the evidentiary hearing should be continued but finds that

sixty (60) days is unnecessary.

       Accordingly, it is now ORDERED as follows:

       1.      Defendant’s motion to continue evidentiary hearing, doc. 198, is
               GRANTED.
     Case 1:02-cr-00045-MP-GRJ          Document 200      Filed 02/07/12    Page 2 of 2


                                                                                    Page 2 of 2


        2.       The Clerk is directed to reschedule the evidentiary hearing for March 13,
                 2012 at 10:00 a.m.

        DONE AND ORDERED this 7th day of February, 2012.



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                                            GARY R. JONES
                                            United States Magistrate Judge




Case No: 1:02-cr-00045-MP-GRJ-3
